                   Case 19-11104-JTD             Doc 652        Filed 10/15/19         Page 1 of 2



                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

EDGEMARC ENERGY HOLDINGS, LLC,                                   Case No. 19-11104 (JTD)
et al., 1
                                                                 (Jointly Administered)
                             Debtors.
                                                                 Ref. Nos. 566 & 650


  ORDER GRANTING THE DEBTORS’ MOTION FOR AN ORDER EXTENDING
  THEIR EXCLUSIVE PERIODS TO FILE A CHAPTER 11 PLAN AND SOLICIT
ACCEPTANCES THERETO PURSUANT TO BANKRUPTCY CODE SECTION 1121(d)

           Upon the Debtors’ Motion for an Order Extending their Exclusive Periods to File a

Chapter 11 Plan and Solicit Acceptances Thereto Pursuant to Bankruptcy Code Section 1121(d)

(the “Motion”); 2 and the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware dated February 29, 2012; and the Court having found that this is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2) and the Court may enter a final order

consistent with Article III of the United States Constitution; 3 and the Court having found that

venue of this proceeding and this Motion in this District is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and it appearing that sufficient notice of the Motion has been given; and good and

sufficient cause appearing for the relief requested in the Motion; it is hereby

           ORDERED that the Motion is GRANTED as set forth herein; and it is further
1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
EdgeMarc Energy Holdings, LLC (6900), EM Energy Manager, LLC (5334), EM Energy Employer, LLC (8026),
EM Energy Ohio, LLC (6935), EM Energy Pennsylvania, LLC (1541), EM Energy West Virginia, LLC (3771), EM
Energy Keystone, LLC (7506), EM Energy Midstream Ohio, LLC (1268), and EM Energy Midstream Pennsylvania,
LLC (3963). The Debtors’ corporate headquarters and mailing address is 1800 Main Street, Suite 220, Canonsburg,
PA 15317.
2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.
3
  Pursuant to Local Rule 9013-1(f), the Debtors hereby confirm their consent to entry of a final order by this Court
in connection with this Motion if it is later determined that this Court, absent consent of the parties, cannot enter
final orders or judgments consistent with Article III of the United States Constitution.



{1239.002-W0057389.3}
               Case 19-11104-JTD        Doc 652      Filed 10/15/19    Page 2 of 2



        ORDERED that pursuant to Bankruptcy Code section 1121(d) and Bankruptcy Rule

9006(b)(1), the Debtors’ Exclusive Plan Period is extended through and including December 11,

2019 and the Debtors’ Solicitation Period is extended through and including February 10, 2020;

and it is further

        ORDERED that this Order is without prejudice to the Debtors’ rights to seek further

extensions of the time within which to extend the Exclusive Periods; and it is further

        ORDERED that this Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation or interpretation of this Order.




       Dated: October 15th, 2019                            JOHN T. DORSEY
       Wilmington, Delaware                                 UNITED STATES BANKRUPTCY JUDGE
